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11                                    UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13

14   J.J. and K.K.,                                    Case No. 4:24-cv-03536-JST

15                      Plaintiffs,                    NOTICE OF VOLUNTARY
                                                       DISMISSAL WITHOUT PREJUDICE
16   v.

17   THE COOPER COMPANIES, INC.;
     COOPERSURGICAL, INC.; and DOES 1-
18   10, inclusive,

19                      Defendants.

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22          Plaintiffs J.J. and K.K. hereby give notice of the voluntary dismissal of their action as to

23   all defendants, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), no defendants having

24   served an answer or a motion for summary judgement.

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                                                                 NOTICE OF VOLUNTARY DISMISSAL W/O PREJUDICE
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     Dated: December 17, 2024       Respectfully submitted,
 2
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                                                         NOTICE OF VOLUNTARY DISMISSAL W/O PREJUDICE
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